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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

    DAN J. BENSON,
                    Plaintiff,
        v.                                            1:13-cv-595-WSD
    OFFICER ANDRES FACEMYER,
    in his individual capacity,
                    Defendant.


                             OPINION AND ORDER

       This matter is before the Court on Defendant Officer Andres Facemyer’s

(“Defendant”) Motion in Limine [108]. Also before the Court are Defendant’s and

Plaintiff Dan J. Benson’s (“Plaintiff”) additional memoranda [130], [131] filed

pursuant to the Court’s March 2, 2017, Order [128].

I.     BACKGROUND1

       In Defendant’s Motion in Limine [108], Defendant asserts that, during a first

appearance hearing held on February 23, 2011 (“First Appearance Hearing”), a

Fulton County Judge independently found there was probable cause to arrest


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       The Court here briefly sets forth the facts pertinent to this Opinion and
Order. A more detailed explanation of the facts underlying this action is contained
in the Court’s September 30, 2015, Order [72].
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Plaintiff. On this basis, Defendant seeks to exclude any evidence of damages after

the First Appearance Hearing. ([108.1] at 5). The Court found there was

insufficient evidence as to the nature of the First Appearance Hearing and what the

Fulton County Judge determined during it, and, on March 2, 2017, the Court issued

an order requiring the parties to file briefs and evidentiary materials regarding

whether the Fulton County Judge made an independent probable cause

determination that constituted a supervening event for purposes of damages

causation.

      On March 17, 2017, Defendant filed his memorandum. In it, he explains

that, on February 23, 2011, the day after Plaintiff was arrested, Plaintiff was

brought before the Honorable James Altman in Fulton County Superior Court for a

First Appearance Hearing. During the hearing, Judge Altman found probable

cause existed for Plaintiff’s arrest. Plaintiff was then held without bond, pursuant

to Judge Altman’s order, until his March 9, 2011, preliminary hearing. Defendant

included with the memorandum a First Appearance Hearing form filled out and

signed by Judge Altman, in which Judge Altman checked the box stating “[t]he

Court found that probable cause exists to detain the defendant for the crimes

enumerated in the above referenced Complaint.” ([130.1]). Defendant argues that




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Judge Altman’s independent probable cause determination broke the chain of

causation for damages stemming from Defendant’s arrest of Plaintiff.

       On March 31, 2017, Plaintiff filed his response. Plaintiff argues that

Eleventh Circuit precedent shows that only an arraignment or indictment breaks

the causal chain. He argues that, even if Judge Altman’s probable cause finding

broke the causal chain of damages, Judge Altman’s probable cause finding was

void because it was based solely upon an ineffectively notarized affidavit. Plaintiff

notes that there are two copies of the “affidavit” Defendant submitted for the First

Appearance Hearing, one of which is not notarized, and the other which states it

was sworn to and subscribed telephonically. Plaintiff contends telephonic

notarization is not authorized under Georgia law. Finally, Plaintiff argues that the

issue of damages causation is an affirmative defense that Defendant waived by

failing to previously raise it.

II.    DISCUSSION

       42 U.S.C. § 1983 “‘creates a species of torts liability,’ and damages are

determined by compensation principles of common-law tort.” Smith v. City of

Oak Hill, Fla., 587 F. App’x 524, 527 (11th Cir. 2014) (quoting Heck v.

Humphrey, 512 U.S. 477, 483 (1994)). “While defendants in § 1983 cases ‘are, as

in common law tort disputes, responsible for the natural and foreseeable


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consequences of their actions,’ the § 1983 plaintiff must show causation.” Id.

(quoting Jackson v. Sauls, 206 F.3d 1156, 1168 (11th Cir.2000)). “Causation has

two required elements: cause-in-fact and legal or proximate cause.” Id. (citing

Jackson, 206 F.3d at 1168 n.16). “To show that the constitutional tort was a cause-

in-fact of the injuries and damages claimed, the plaintiff must show that ‘except for

the constitutional tort, such injuries and damages would not have occurred.’” Id.

(quoting Jackson, 206 F.3d at 1168 n.16). “To show that the constitutional tort

was the legal or proximate cause of the injuries and damages claimed, a plaintiff

must show that ‘the injury or damage was a reasonably foreseeable consequence of

the [officer’s] act or omission.’” Id. (quoting Jackson, 206 F.3d at 1168 n.16).

      The question here is whether, on a claim of a warrantless deprivation of

liberty, a state-court magistrate judge’s independent probable cause determination

at an initial detention hearing breaks the chain of damages stemming from the

warrantless arrest. The Court finds it does not. The facts in the Eleventh Circuit’s

decision in Jones v. Cannon, 174 F.3d 1271, 1287 (11th Cir. 1999) are similar to

those at issue here. In Jones, a plaintiff sued officers, under 42 U.S.C. § 1983, for

false arrest. On the evening of plaintiff’s arrest, one of the arresting officers

completed an affidavit for use at a state-court magistrate judge hearing to

determine the existence of probable cause for continuing to detain the plaintiff. Id.


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at 1278. The probable cause hearing was held the next day. Approximately three

weeks later, a grand jury indicted the plaintiff. 2 The Eleventh Circuit stated “that

the grand jury indictment broke the chain of causation for the detention from the

alleged false arrest and [the plaintiff] may recover damages only for his detention

prior to the grand jury indictment.” Id. The Court did not find that the initial

probable cause hearing similarly broke the causal chain.

      This Court’s prior decision in Love v. Oliver, 450 F. Supp. 2d 1336 (N.D.

Ga. 2006) is also instructive. In Love, the Court articulated the difference between

a cause of action for false arrest and one for malicious prosecution. The Court

stated that “[t]ypically, a warrantless deprivation of liberty from the moment of

arrest to the time of arraignment will find its analog in the tort of false arrest, while

the tort of malicious prosecution will implicate post-arraignment deprivations of

liberty.” Id. at 1341n.5 (quoting Singer v. Fulton Cty. Sheriff, 63 F.3d 110, 117

(2d Cir. 1995)) (internal quotation marks omitted). The Court further explained

that, “[i]n the case of a warrantless arrest, the judicial proceeding does not begin

until the party is arraigned or indicted. Thus, the plaintiff’s arrest cannot serve as


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       Though the evidence in the record did not show the result of the probable
cause hearing, it appears that the plaintiff continued to be detained after the hearing
and thus it is reasonable to assume that the judge found probable cause to detain
the plaintiff.


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the predicate deprivation of liberty [for a malicious prosecution claim] because it

occurred prior to the time of arraignment, and was not one that arose from

malicious prosecution as opposed to false arrest.” Id. at 1340-41 (quoting

Kingsland v. City of Miami, 382 F.3d 1220, 1235 (11th Cir. 2004)).

      The only Eleventh Circuit precedent Defendant relies on to support his

argument that Judge Altman’s probable cause determination cut off the chain of

damages is Barts v. Joyner, 865 F.2d 1187 (11th Cir. 1989). In Barts, the plaintiff

was arrested, after which she was tried and convicted of second degree murder. Id.

at 1189. The plaintiff served eight months of a twenty-five year sentence, before

being released on appellate bond. She was granted a new trial, which resulted in

an acquittal. The plaintiff brought an action under Section 1983 against her

arresting officers. The Eleventh Circuit held that the plaintiff was not entitled to

damages for her criminal trials, conviction, and subsequent incarceration, because

“the intervening acts of the prosecutor, grand jury, judge and jury each broke the

chain of causation.” Id. at 1195.

      It is undisputed here that the grand jury indictment broke the chain of

causation, and Barts is thus not useful in determining the question before the

Court: whether an initial probable cause determination by a state-court magistrate




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judge is an intervening act that breaks the chain of causation. Defendant does not

provide any binding authority to show that it does.3

        Based on the Eleventh Circuit’s decision in Jones and this Court’s reasoning

in Love, the Court finds that a state-court magistrate judge’s independent probable

cause determination at an initial detention hearing does not break the chain of

damages stemming from a warrantless arrest, although a jury may consider that it

impacts the scope of damages suffered. Ordinarily, a cause of action stemming

from a warrantless deprivation of liberty encompasses the time between the initial

arrest through the arraignment or indictment. See Love, 450 F. Supp. 2d at

1341n.5 (quoting Singer, 63 F.3d at 117). Under the facts of this case, Defendant’s

arrest of Plaintiff was the but-for cause of his detention, and the detention was a

reasonably foreseeable consequence of the arrest. See Smith, 587 F. App’x at

527.4


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       This case is unlike those in which an officer procures a valid arrest warrant
from a magistrate judge before making an arrest. In such cases, it is the magistrate
judge’s independent determination that provides the basis for the initial arrest, and
the warrant insulates the arresting officer from a charge of false arrest. See Deville
v. Marcantel, 567 F.3d 156, 170 (5th Cir. 2009). That is not the case where, as
here, an officer conducts a warrantless arrest.
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       Even if Judge Altman’s probable cause determination could have cut off the
chain of damages, it is unclear whether Judge Altman’s determination was valid
under Georgia law, because it appears that Defendant did not properly notarize
either of the affidavits he submitted to Judge Altman. A notary is not authorized to


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III.   CONCLUSION

       For the foregoing reasons,

       IT IS HEREBY ORDERED that Defendant’s Motion in Limine [108] is

DENIED with respect to Defendant’s request to exclude any evidence of damages

after the First Appearance Hearing. The Court will issue a separate Opinion and

Order regarding the remainder of the parties’ motions in limine.



       SO ORDERED this 14th day of April, 2017.




give an oath telephonically. See Sambor v. Kelley, 518 S.E.2d 120, 120 (Ga.
1999). Under Georgia law, an individual wrongfully arrested under a void warrant
may maintain an action for false imprisonment. See Reese v. Clayton Cty., 363
S.E.2d 618, 619 (Ga. Ct. App. 1987).


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